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                United States Court of Appeals
                                For the First Circuit
                                   _____________________

 No. 19-1968

                                    MATTHEW LAUZON,

                                      Plaintiff - Appellant,

                                               v.

 ROGER BEAUPRE, individually and in his official capacity as Chief of Police for the Biddeford
                    Police Department; CITY OF BIDDEFORD,

                                    Defendants - Appellees,

                                       STEPHEN DODD,

                                          Defendant.
                                     __________________

                                             Before

                                 Thompson, Lipez and Kayatta,
                                       Circuit Judges.
                                    __________________

                                         JUDGMENT

                                     Entered: May 8, 2020

        Upon consideration of plaintiff-appellant Matthew Lauzon's unopposed motion, it is
 hereby ordered that this appeal be voluntarily dismissed pursuant to Fed. R. App. P. 42(b) with
 each party to bear its own costs.


                                                      By the Court:

                                                      Maria R. Hamilton, Clerk


 cc:
 Walter F. McKee, Matthew D. Morgan, Kurt Peterson, Joseph Linwood Cahoon Jr.,
 Michael E. Saucier
